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                                            July 31, 2023

VIA ECF

The Honorable Michael A. Hammer
U.S. District Court for the District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07101

Re:    Tristar Products, Inc. v. National Express, Inc., 2:13-cv-07752-EP-MAH;
       Ragner Tech. Corp. v. Telebrands Corp., 2:15-cv-08185-EP-MAH;
       Telebrands Corp. v. Ragner Tech. Corp., 2:15-cv-03163-EP-MAH;
       Telebrands Corp. v. Ragner Tech. Corp., 2:16-cv-03594-EP-MAH;
       Telebrands Corp. v. Ragner Tech. Corp., 2:16-cv-03474-EP-MAH
       Joint Status Report Concerning Progress of Mediation

Dear Judge Hammer:

       The parties in the above-referenced matters, Tristar Products, Inc. and Ragner Technology
Corp., and Telebrands Corp., Bulbhead.com, LLC, National Express, Inc., E. Mishan & Sons, Inc.,
and DAP Products, Inc., write jointly in response to the Court’s Text Orders (D.E. 411, 412)
requesting a joint status report concerning the progress of mediation.

        Over the past five months, the parties have engaged in mediation activities, including virtual
mediation sessions before the Hon. Garrett E. Brown, Jr. on July 12 and 13. The parties have not yet
``settled the litigation through the mediation. Judge Brown has kept the mediation open while he is
having further communications with the parties; no conclusion to the mediation has been established.

       We appreciate the Court’s attention to the matters raised herein.

                                                             Very truly yours,
                                                             s/ Noam Kritzer
                                                             Noam J. Kritzer
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